
33 Mich. App. 268 (1971)
189 N.W.2d 815
HANIK
v.
WILCZYNSKI
Docket No. 9340.
Michigan Court of Appeals.
Decided April 28, 1971.
Calvin J. Klyman, for plaintiffs.
Condit, Denison, Devine, Porter &amp; Bartush, for defendants.
Before: QUINN, P.J., and R.B. BURNS and McGREGOR, JJ.
*269 PER CURIAM.
This is an automobile negligence case. The jury returned a verdict of no cause of action. Plaintiffs appeal, claiming that the verdict was contrary to the weight of the evidence.
Since plaintiffs did not move for a new trial on that ground we cannot now order one. Armstrong v. Woodland Mutual Fire Insurance Company (1955), 342 Mich 666; Nadolski v. Peters (1952), 332 Mich 182; Riber v. Morris (1937), 279 Mich 344.
Plaintiffs next argue that it was error for the trial judge to admit, over objection, an unsigned and unverified complaint filed in a previous personal injury action for the purpose of impeaching Peter Hanik's statement that he had never before suffered any back, neck, or spine injuries. This issue is controlled by Schwartz v. Triff (1966), 2 Mich App 379, which held that such evidence was admissible for impeachment purposes.
Affirmed. Costs to defendants.
